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                    IN THE UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF SOUTH CAROLINA

IN RE: EVELYN K HARRIS,                      )      CHAPTER 13
                                             )
       Debtor,                               )      CASE NO. 21-00825-hb


EVELYN K. HARRIS,                            )
                                             )
       Plaintiff,                            )      CONTESTED MATTER
                                             )
vs.                                          )
                                             )
TITLEMAX OF SOUTH CAROLINA,                  )      AP CASE NO. 21-80036-hb
INC.,                                        )
                                             )
       Defendant.                            )

                                           ANSWER

       COMES NOW TITLEMAX OF SOUTH CAROLINA, INC. (“Movant”), and hereby files

its Answer to Plaintiff’s Complaint, showing the Court as follows showing the Court as follows:

                                      FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim, in whole or in part, upon which relief can be

granted.

                                     SECOND DEFENSE

       Plaintiff’s Complaint is barred by the doctrine of unclean hands.

                                      THIRD DEFENSE

       Plaintiff’s Complaint is barred by the doctrines of estoppel and waiver.

                                    FOURTH DEFENSE

       Plaintiff’s Complaint is barred because Plaintiff’s alleged damages, if any exist, were not

directly or proximately caused by any act or omission on the part of Defendant.
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                                         FIFTH DEFENSE

        Plaintiff’s Complaint is barred because Defendant has at all times acted in good faith and

did not directly or indirectly induce any act or acts constituting a violation or cause of action arising

under federal or state law.

                                         SIXTH DEFENSE

        Plaintiff’s Complaint is barred under the doctrine of frustration.

                                       SEVENTH DEFENSE

        Plaintiff’s Complaint is barred under the doctrine of impossibility.

                                        EIGHTH DEFENSE

        Plaintiff’s Complaint is barred, to the extent applicable, by the statute of frauds.

                                         NINTH DEFENSE

        Plaintiff’s Complaint is barred due to Plaintiff’s failure to comply with conditions

precedent.

                                         TENTH DEFENSE

        Plaintiff’s Complaint is barred because of Plaintiff’s default and failure to perform.

                                      ELEVENTH DEFENSE

        Plaintiff’s Complaint is barred from recovery of any and all damages that are purely

speculative in nature.

                                       TWELFTH DEFENSE

        As all actions of Defendant including repossession occurred prior to the filing of Plaintiff’s

petition in her bankruptcy case, there has been no stay violation. See 11 U.S.C. 362(a); Chicago v.

Fulton, 592 U. S. ___ (2021).

                                    THIRTEENTH DEFENSE

        Defendant reserves the right to assert additional defenses as the proof may warrant.
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                                  FOURTEENTH DEFENSE

       Defendant denies all allegations and requests for relief not specifically admitted below.

                                   FIFTEENTH DEFENSE

       Having set forth the foregoing defenses, Defendant now responds to each of the

enumerated paragraphs of the Plaintiff’s Complaint as follows:

1.     Admitted.

2.     Admitted.

3.     Admitted that this is an action for turnover, otherwise denied.

4.     Admitted.

5.     Admitted.

6.     Admitted.

7.     Admitted.

8.     Admitted.

9.     Admitted.

10.    Admitted that Defendant attempted to cramdown Defendant’s claim. Defendant denies all

other allegations.

11.    Admitted that Defendant received notice at some point. Defendant denies all other

allegations.

12.    Admitted that Defendant has received notice. Defendant denies all other allegations.

13.    Defendant admits that it has notice of the Plaintiff’s claims. Defendant denies all other

allegations.

15.    Admitted that Defendant remains in possession of vehicle. Defendant denies all other

allegations.
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16.     Admitted.

17.     Defendant does not have sufficient information to admit or deny the allegations contained

in this paragraph therefore denies the same.

18.     Defendant admits that it has not yet filed its motion for relief but will file a motion to

relief following this filing of this answer.

19.     Defendant incorporates its foregoing answers as if fully set forth herein.

20.     Denied. The vehicle was in possession of Defendant at the time of filing of the

bankruptcy petition after being lawfully repossessed.

21.     Denied.

22.     Admitted that Trustee has not any taken action against Defendant for the vehicle to date,

otherwise denied.

23.     The legal conclusions in this paragraph do not need to be admitted or denied but

Defendant denies that the vehicle is property of Plaintiff’s estate beyond Plaintiff’s right to

redeem the vehicle.

24.     Denied.

25.     Defendant incorporates its foregoing answers as if fully set forth herein.

26.     Denied. See Chicago v. Fulton, 592 U. S. ___ (2021) (The mere retention of estate property

after the filing of a bankruptcy petition does not violate 11 U.S.C. § 362(a)(3), which operates as

a “stay” of “any act” to “exercise control” over the property of the estate.).

27.     Denied.

27(a). Denied.

27(b). Denied.

27(c). Denied.

27(d). Denied.
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27(e). Denied.

27(a).[sic] Denied.

       WHEREFORE, Defendant respectfully requests the Court dismiss this action against

Defendant with all costs cast upon Plaintiff and for such further relief as the Court may deem just

and proper.

Respectfully submitted this 28th day of July, 2021.



Cleary, West & Huff, LLP                     /s/ Nathan E. Huff
1223 George C Wilson Dr                      NATHAN E. HUFF
Augusta, GA 30909                            SC District ID No. 12311
(706) 860-9995                               Attorney for Defendant
nhuff@cwhllp.com
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                     IN THE UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

IN RE: EVELYN K HARRIS,                         )        CHAPTER 13
                                                )
        Debtor,                                 )        CASE NO. 21-00825-hb


EVELYN K. HARRIS,                               )
                                                )
        Plaintiff,                              )        CONTESTED MATTER
                                                )
vs.                                             )
                                                )
TITLEMAX OF SOUTH CAROLINA,                     )        AP CASE NO. 21-80036-hb
INC.,                                           )
                                                )
        Defendant.                              )

                                   CERTIFICATE OF SERVICE

        This is to certify that I have this day served the following parties in this matter with a copy of
the within and foregoing ANSWER by depositing a true and correct copy in the U.S. Mail with
sufficient postage affixed thereto and properly addressed or served electronically via the Court’s
CM/ECF system to the parties listed below:

                Evenlyn K Harris                                   Gretchen D. Holland
                488 Carolyn Drive                                  Ch. 13 Trustee Office
              Spartanburg, SC 29306                           20 Roper Corners Circle, Suite C
                                                                   Greeville, SC 29615
            Dana Elizabeth Wilkinson
              Wilkinson Law Firm
           365-C East Blackstock Road
             Spartanburg, SC 29301


Respectfully submitted this 28th day of July, 2021.

                                                /s/ Nathan E. Huff
1223 George C Wilson Dr                         NATHAN E. HUFF
Augusta, GA 30909                               SC District ID No. 12311
(706) 860-9995                                  Attorney for Movant
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